Case 3:19-cr-00115-BAJ-RLB Document 217 01/30/23 Page 1 of 7

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA § JUDGMENT IN A CRIMINAL CASE
§
v. §
§ Case Number: 3:19-CR-00115-BAJ-RLB(1)
VICTOR CLARK KIRK § USM Number: 09254-095
§ Dustin Charles Talbot
§ Defendant’s Attorney
THE DEFENDANT:

 

L] | pleaded guilty to count(s)

 

O pleaded guilty to count(s) before a U.S. Magistrate
Judge, which was accepted by the court.

 

Og pleaded nolo contendere to count(s) which was
accepted by the court

 

 

 

 

was found guilty on count(s) after a plea of not guilty | One, two, three, four, five, and six of the Indictment

 

 

The defendant is adjudicated guilty of these offenses:

 

Title & Section / Nature of Offense Offense Ended Count
18:1349/ Conspiracy to Commit Healthcare Fraud 06/30/2015 1
18:1347 and 2/ Healthcare Fraud 09/11/2014 2
18:1347 and 2/ Healthcare Fraud 09/11/2014 3
18:1347 and 2/ Healthcare Fraud 09/16/2014 4
18:1347 and 2/ Healthcare Fraud 01/06/2015 5
18:1347 and 2/ Healthcare Fraud 02/10/2015 6

The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

L] The defendant has been found not guilty on count(s)
[] Count(s) LJ is (1 are dismissed on the motion of the United States

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

January 18, 2023

Date of Imposition of Judgment

6
A: aR 1
Signature of Judge

BRIAN A. JACKSON
UNITED STATES DISTRICT JUDGE

Name and Title of Judge

 

'/30 [2028

Date
Case 3:19-cr-00115-BAJ-RLB Document 217 01/30/23 Page 2 of 7

AO 245B (Rev. 09/19) Judgment in a Criminal Case Judgment -- Page 2 of 7

DEFENDANT: VICTOR CLARK KIRK
CASE NUMBER: 3:19-CR-00115-BAJ-RLB(1)

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
82 months on each of counts one through six to run concrrently.

The court makes the following recommendations to the Bureau of Prisons:

It is recommended the defendant be designated to a facility where he can receive mental health treatment and medical
treatment

[| The defendant is remanded to the custody of the United States Marshal.
L] The defendant shall surrender to the United States Marshal for this district:

[] at C] am. Ch pm. on
[_] as notified by the United States Marshal.
The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

L] before 2 p.m. on
[-] as notified by the United States Marshal.
as notified by the Probation or Pretrial Services Office.

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.

UNITED STATES MARSHAL

By
DEPUTY UNITED STATES MARSHAL
Case 3:19-cr-00115-BAJ-RLB Document 217 01/30/23 Page 3 of 7

AO 245B (Rev. 09/19) Judgment in a Criminal Case Judgment -- Page 3 of 7

DEFENDANT: VICTOR CLARK KIRK
CASE NUMBER: 3:19-CR-00115-BAJ-RLB(1)

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of: three years on each of counts one
through six to run concurrent for a total term of three years.

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.

2. You must not unlawfully possess a controlled substance.

3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
The above drug testing condition is suspended, based on the court's determination that you

pose a low risk of future substance abuse. (check if applicable)
4, You must make restitution in accordance with 18 U.S.C. § 3663 and 3663A or any other statute authorizing a sentence of
restitution. (check if applicable)
You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
C

You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
seq.)
as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location

where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

7. (] You must participate in an approved program for domestic violence. (check if applicable)

The defendant must comply with the standard conditions that have been adopted by this court as well as with any
additional conditions on the attached page.
Case 3:19-cr-00115-BAJ-RLB Document 217 01/30/23 Page 4 of 7
AO 245B (Rev. 09/19) Judgment in a Criminal Case Judgment -- Page 4 of 7

DEFENDANT: VICTOR CLARK KIRK
CASE NUMBER: 3:19-CR-00115-BAJ-RLB(1)

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, or if placed on probation, within 72 hours of the time you were sentenced, unless the probation officer
instructs you to report to a different probation office or within a different time frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.

4, You must answer truthfully the questions asked by your probation officer.

5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours
of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
to take any items prohibited by the conditions of supervision that the probation officer observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as the position or job responsibilities),
you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is
not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change
or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer

9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified, for the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person. about the risk and you must comply with that instruction. The probation officer may contact the person
and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a
written copy of this judgment containing these conditions. I understand additional information regarding these
conditions is available at the www.uscourts.gov.

Defendant’s Signature Date

 

 
Case 3:19-cr-00115-BAJ-RLB Document 217 01/30/23 Page 5 of 7

AO 245B (Rev. 09/19) Judgment in a Criminal Case Judgment -- Page 5 of 7

DEFENDANT: VICTOR CLARK KIRK
CASE NUMBER: 3:19-CR-00115-BAJ-RLB(1)

SPECIAL CONDITIONS OF SUPERVISION

You must participate in a mental health treatment program and follow the rules and regulations of that program.
The probation officer, in consultation with the treatment provider, will supervise your participation in the program
(provider, location, modality, duration, intensity, etc.). You must pay the costs of mental health treatment
program, to the extent you are financially able to pay. The U.S. Probation Office must determine your ability to
pay and any schedule for payment, subject to the Court’s review upon request.

You must take all mental health medications that are prescribed by your treating physician. You must pay the
costs of the medication, to the extent you are financially able to pay. The U.S. Probation Office must determine
your ability to pay and any schedule for payment, subject to the Court’s review upon request.

You must provide the probation officer with access to any requested financial information and authorize the
release of any financial information. The probation office may share financial information with the U.S.
Attorney's Office.

You must not incur new credit charges, or open additional lines of credit, without the approval of the probation
officer.

If the judgment imposes a financial penalty, you must pay the financial penalty in accordance with the Schedule
of Payments sheet of the judgment. You must also notify the court, through the probation officer, of any changes
in economic circumstances that might affect the ability to pay this financial penalty.

You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. §
1030(e)(1)), other electronic communications or data storage devices or media, or office, to a search conducted
by a United States probation officer. Failure to submit to a search may be grounds for revocation of release. You
must warn any other occupants that the premises may be subject to searches pursuant to this condition. The
probation officer may conduct a search under this condition only when reasonable suspicion exists that you have
violated a condition of supervision and that the areas to be searched contain evidence of this violation. Any search
must be conducted at a reasonable time and in a reasonable manner.
Case 3:19-cr-00115-BAJ-RLB Document 217 01/30/23 Page 6 of 7

AO 24S5B (Rev. 09/19) Judgment in a Criminal Case Judgment -- Page 6 of 7

DEFENDANT: VICTOR CLARK KIRK
CASE NUMBER: 3:19-CR-00115-BAJ-RLB(1)

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

 

 

 

 

 

 

 

 

 

Assessment Restitution Fine AVAA Assessment* | JVTA Assessment**
TOTALS $600.00 $1,841,527.31 $30,000.00 $.00 $.00
["] The determination of restitution is deferred until An Amended Judgment in a Criminal Case (AO245C) will be entered

after such determination.
The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18 U.S.C.
§ 3664(i), all nonfederal victims must be paid before the United States is paid.

Restitution of $1,841,527.31, jointly and severally with co-defendants Marilyn Brown Antwine (3:19-cr-00115-2), and Michael
Gaines in Docket No.: 18-85-JWD-RLB to:

Louisiana Department of Health and Hospitals
Program Integrity, Bin 24

Attn: Katherine Stewart

P.O. Box 91030

Baton Rouge, LA 70821-9030

(_] Restitution amount ordered pursuant to plea agreement $

[.] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

The court determined that the defendant does not have the ability to pay interest and it is ordered that:
the interest requirement is waived for the fine [] _ restitution

[| the interest requirement for the [] fine [-] _ restitution is modified as follows:

*Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299,
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22

*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.

 
Case 3:19-cr-00115-BAJ-RLB Document 217 01/30/23 Page 7 of 7

AO 245B (Rev. 09/19) Judgment in a Criminal Case Judgment -- Page 7 of 7
DEFENDANT: VICTOR CLARK KIRK
CASE NUMBER: 3:19-CR-00115-BAJ-RLB(1)

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A

O

UO WwW O OD

Lump sum payments of $ due immediately, balance due

not later than , or
in accordance OC, [] OD, [] E, or []  F below; or
Payment to begin immediately (may be combined with []  C, [] D,or F below); or
Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment;
or
Payment in equal 20 (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from

imprisonment to a term of supervision; or

Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release
from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
time; or

Special instructions regarding the payment of criminal monetary penalties:

It is ordered that the Defendant shall pay to the United States a special assessment of $600.00 for Counts 1, 2, 3, 4,
5 and 6 , which shall be due immediately. Said special assessment shall be paid to the Clerk, U.S. District Court.

The restitution and fine shall be due immediately, but nonpayment are not violations of supervision so long as the
defendant makes the required monthly payments. Upon release from incarceration, any unpaid balances shall be
paid at a monthly rate to be determined by the Court. Such payments shall begin within 60 days after release from
imprisonment. The defendant does not have the ability to pay interest on the fine; therefore, interest is waived.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

MOO

Joint and Several

See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate.

The defendant shall pay the cost of prosecution.
The defendant shall pay the following court cost(s):

The defendant shall forfeit the defendant’s interest in the following property to the United States:
Pursuant to 18 U.S.C. § 982(a)(7), the defendant must forfeit all property, real and personal, that constitutes or is derived, directly

or indirectly, from gross proceeds of the violations, including but not limited to a sum of money equal to the amount of the gross

proceeds of the offenses in the amount of $234,789.87.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) J}VTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
